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                            EXHIBIT 1
                                                      Case 1:03-md-01570-GBD-SN                                                                Document 9716-1
                                                                                                                                                EXHIBIT B-2
                                                                                                                                                                                                Filed 04/23/24                           Page 2 of 10
                                                                                                                 ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                     Personal Representative                                                              9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                            Nationalit
                                                                                                                            y on 9/11
                                                                                                                                                                                                       Complaint,
                                                                                                                                         Date of                                                                             Prior                                             Date of    Prior
#            First         Middle              Last    Suffix             First        Middle           Last      Suffix                             9/11 Site               Case   Complaint        Amendments &                        Amount            Treble     Report                      Amount   Treble
                                                                                                                                         Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                      Substitutions
                                                                                                                                                                                                1:02-cv-01616, 77, at
                                                                                                                                                                                                AP200, 8393-1, at 20,
    1 Heda           K.             Adams                       Donald            L.            Adams                      U.S.           9/11/01 NY (WTC)            03-CV-9849                848                                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-CV-01616, 26, 29,
    2 Affiong        Japhet         Adanga                      Ignatius          Udo           Adanga                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2535                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 305, at
                                                                                                                                                                                                P4106, 8393-1, at 22,
    3 Louisa                        Allegretto                  Edward            L.            Allegretto                 U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

    4 Jennifer                      D'Auria                     Joseph            Ryan          Allen                      U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 39               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 26, 29,
    5 Grace          Fernandez      Alviar                      Cesar             A.            Alviar                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 1812                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 232, at
                                                                                                                                                                                                P4042, 8393-1, at 59,
    6 Mary           Elizabeth      Andrews                     Michael           Rourke        Andrews                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 26, 29,
    7 Donna          L.             Angelini                    Joseph            John          Angelini         Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                at 1818                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 313, at
                                                                                                                                                                                                P4589, 8393-1, at 20,
    8 Gina           Laura          Giovanniello                Doreen            J.            Angrisani                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 313, at
                                                                                                                                                                                                P4592, 8393-1, at 58,
    9 Mary           Ellen          Armstrong                   Michael           Joseph        Armstrong                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-CV-01616, 26, 29,
10 Aristides                        Bantis                      Katherine                       Bantis                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2601                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-CV-01616, 26, 29,
11 Carol             Ann            Baran                       Walter                          Baran                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2608                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 77, at
                                                                                                                                                                                                P2666, 8393-1, at 55,
12 Linda             L.             Sheppard                    Melissa           Rose          Barnes                     U.S.           9/11/01 VA (Pentagon)       03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 155, at
                                                                                                                                                                                                P2821, 8393-1, at 55,
13 Marianne          Joan           Barry                       Maurice           V.            Barry                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

14 Suzanne           Jacqueline     Berger                      James             P.            Berger                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 3, at 908              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 232, at
                                                                                                                                                                                                P3595, 8393-1, at 41,
15 Evelyn                           Berry                       Joseph            John          Berry                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 77, at
                                                                                                                                                                                                P2537, 8393-1, at 7,
16 Tina              Marie          Bilcher                     Brian                           Bilcher                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 26, 29,
17 Hyacinth                         Blackman                    Albert            Balewa        Blackman         Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2675                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:03-cv-9849, HAND
                                                                                                                                                                                                FILED, at P5000, 8393-1,
18 Janet             Elizabeth      Blackwell                   Christopher                     Blackwell                  U.S.           9/11/01 NY (Other)          03-CV-9849                at 10, 8487                           $ 2,000,000.00 $ 6,000,000.00

19 John                             Bonomo                      Yvonne            L.            Bonomo                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 3, at 923              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 155, at
                                                                                                                                                                                                P2829, 8393-1, at 8,
20 Linda             Kay            Boone                       Canfield          D.            Boone                      U.S.           9/11/01 VA (Pentagon)       03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

21 Kathleen          M.             Buckley                     Dennis                          Buckley                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 3, at 937              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 432, at
                                                                                                                                                                                                P4782, 8393-1, at 61,
22 James             T.             Bueche                      Nancy             Clare         Bueche                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 26, 29,
                                                                                                                                                                                                at 2754, 8393-1, at 62,
23 Robert            Guy            Byrne             Sr.       Patrick           D.            Byrne                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 77, at
                                                                                                                                                                                                P2554, 8393-1, at 49,
24 Joan              E.             Callahan                    Liam                            Callahan                   U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

25 Steven            T.             Campbell                    Jill              Marie         Campbell                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 103              $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                                1:02-cv-01616, 1, at 122,
26 Lakshmi                          Chalasani                   Swarna                          Chalasani                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 79, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 232, at
                                                                                                                                                                                                P3631, 8393-1, at 52,
27 Cheryl            Ann            Desmarais                   Mark              L.            Charette                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 232, at
                                                                                                                                                                                                P3634, 8393-1, at 77,
28 Mary              Ellen          Cherry                      Stephen           Patrick       Cherry                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                1:02-cv-01616, 232, at
                                                                                                                                                                                                P3639, 8393-1, at 61,
29 Zeneida           Mercedes       Chevalier                   Nestor            Julio         Chevalier        Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                               Page 1 of 9
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                                                                                                                                               EXHIBIT B-2
                                                                                                                                                                                               Filed 04/23/24                           Page 3 of 10
                                                                                                                ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                  Personal Representative                                                                9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                           Nationalit
                                                                                                                           y on 9/11
                                                                                                                                                                                                     Complaint,
                                                                                                                                        Date of                                                                             Prior                                             Date of    Prior
#         First         Middle              Last    Suffix             First         Middle            Last      Suffix                             9/11 Site               Case   Complaint       Amendments &                         Amount            Treble     Report                      Amount   Treble
                                                                                                                                        Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                    Substitutions

30 Nicholas       Mario          Chiarchiaro       Sr.       Dorothy           J.             Chiarchiaro                 U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 125              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 155, at
                                                                                                                                                                                               P2847, 8393-1, at 61,
31 Joan           Nardello       Chiofalo                    Nicholas          Paul           Chiofalo                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 77, at
                                                                                                                                                                                               P2563, 8393-1, at 8,
32 David          S.             Chirls                      Catherine         Ellen          Chirls                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 313, at
                                                                                                                                                                                               P4627, 8393-1, at 69,
33 Eileen         Mary           Cirri                       Robert            D.             Cirri             Sr.       U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 313, at
                                                                                                                                                                                               P4631, 8393-1, at 37,
34 Dawn           A.             Connolly                    John              E.             Connolly          Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
35 Jaymel         Elizabeth      Connor                      James             Lee            Connor                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 1893                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 305, at
                                                                                                                                                                                               P4204, 8393-1, at 34,
36 Mary           Christine      Coombs                      Jeffrey           W.             Coombs                      U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
37 Pui Yee                       Coppola                     Gerard            J.             Coppola                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1011                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
                                                                                                                                                                                               at 2896, 8393-1, at 69,
38 Caroline                      Cordice                     Robert            J.             Cordice                     U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                               1:02-cv-01616, 1, at 818,
39 Wendy          Eve            Cosgrove                    Kevin             M.             Cosgrove                    U.S.           9/11/01 NY (WTC)            03-CV-9849                5284-1, at 3, 5296                    $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
40 Catherine                     Coughlan                    Martin            John           Coughlan                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1021                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
                                                                                                                                                                                               1032, 8393-1, at 11,
41 Susan          Lynne          Kinney                      Christopher       Seton          Cramer                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 432, at
                                                                                                                                                                                               P4804, 8393-1, at 35,
42 Raffaella      Rita           Crisci                      John              A.             Crisci                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                               1:02-cv-01616, 1, at 794,
                                                                                                                                                                                               5284-1, at 3, 5296, 8393-
43 Lori           Ann            Crotty                      Kevin             Raymond        Crotty                      U.S.           9/11/01 NY (WTC)            03-CV-9849                1, at 47, 8487                        $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
                                                                                                                                                                                               at 4812, 5284-1, at 3,
44 Kathi          S.             Curioli                     Paul              Dario          Curioli                     U.S.           9/11/01 NY (WTC)            03-CV-9849                5296                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
                                                                                                                                                                                               1051, 8393-1, at 85,
45 Raquel                        D'Amadeo                    Vincent           Gerard         D'Amadeo                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 155, at
                                                                                                                                                                                               P2869, 8393-1, at 13,
46 Daphne         Rachell        Davis                       Clinton                          Davis             Sr.       U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 232, at
                                                                                                                                                                                               P3671, 8393-1, at 69,
47 Paul                          DeAngelis                   Robert            J.             DeAngelis         Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 155, at
                                                                                                                                                                                               P2871, 8393-1, at 76,
48 Nik            M.             Dedvukaj                    Simon             Marash         Dedvukaj                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
49 Susan                         DiFato                      John                             DiFato                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3022                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 305, at
                                                                                                                                                                                               P4229, 8393-1, at 84,
50 Patricia       Anne           DiFazio                     Vincent           Francis        DiFazio                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 432, at
                                                                                                                                                                                               P4831, 8393-1, at 69,
51 Lisa           T.             Dolan                       Robert            E.             Dolan             Jr.       U.S.           9/11/01 VA (Pentagon)       03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 232, at
                                                                                                                                                                                               P3680, 8393-1, at 30,
52 Marion         Elaine         Donovan                     Jacqueline                       Donovan                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 155, at
                                                                                                                                                                                               P2882, 8393-1, at 87,
53 Elaine         Marie          Donovan                     William           Howard         Donovan                     U.S.           9/11/01 VA (Pentagon)       03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
                                                                                                                                                                                               at 3050, 8393-1, at 80,
54 Kerri          Ann            Dowd                        Thomas            Francis        Dowd                        U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
55 Adelaide       Maureen        Driscoll                    Patrick           Joseph         Driscoll                    U.S.           9/11/01 PA (UA93)           03-CV-9849                1077                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
56 Robert         M.             Duffy                       Gerard            J.             Duffy                       U.S.           9/11/01 NY (Other)          03-CV-9849                at 3069                               $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                              Page 2 of 9
                                                   Case 1:03-md-01570-GBD-SN                                                                Document 9716-1
                                                                                                                                             EXHIBIT B-2
                                                                                                                                                                                             Filed 04/23/24                           Page 4 of 10
                                                                                                              ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                  Personal Representative                                                              9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                         Nationalit
                                                                                                                         y on 9/11
                                                                                                                                                                                                   Complaint,
                                                                                                                                      Date of                                                                             Prior                                             Date of    Prior
#         First         Middle              Last   Suffix             First        Middle           Last       Suffix                             9/11 Site               Case   Complaint       Amendments &                         Amount            Treble     Report                      Amount   Treble
                                                                                                                                      Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                  Substitutions

                                                                                                                                                                                             1:02-cv-01616, 1, at 186,
57 Diane                         Egan                       Martin            Joseph        Egan              Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                8393-1, at 53, 848                    $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 155, at
                                                                                                                                                                                             P2890, 8393-1, at 4,
58 Jean           A.             Etzold                     Barbara                         Etzold                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
59 Patricia       A.             Fallon                     Jamie             Lynn          Fallon                      U.S.           9/11/01 VA (Pentagon)       03-CV-9849                at 3115                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 3, at
60 Stacey         Ellen          Farrelly                   Joseph                          Farrelly                    U.S.           9/11/01 NY (Other)          03-CV-9849                1094                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 305, at
                                                                                                                                                                                             P4269, 8393-1, at 72,
61 Janet                         Fazio                      Ronald            C.            Fazio             Sr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P3688, 8393-1, at 16,
62 Rosanna        M.             Ferrugio                   David             Francis       Ferrugio                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                             1:02-cv-01616, 1, at 217,
63 Cathy          Lyn            Fersini                    Louis             V.            Fersini           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 50, 8487                   $ 2,000,000.00 $ 6,000,000.00

                                 Fiduciary Trust                                                                                                                                             1:02-cv-01616, 232, at
                                 Company                                                                                                                                                     AP240, 8393-1, at 6,
64                               International              Bennett           Lawson        Fisher                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487, 5284-1, at 5, 5296              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
65 Deborah        Ann            Fodor                      Michael           N.            Fodor                       U.S.           9/11/01 NY (Other)          03-CV-9849                at 3184                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 305, at
                                                                                                                                                                                             P4276, 8393-1, at 9,
66 Mary           Lou            Lee                        Chih              Min           Foo                         U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 4816, 5284-1, at 5,
67 Nancy          B.             Fox                        Jeffrey           L.            Fox                         U.S.           9/11/01 NY (WTC)            03-CV-9849                5296                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 155, at
                                                                                                                                                                                             P2900, 8393-1, at 27,
68 Mary                          Froehner                   Gregg             J.            Froehner                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 3, at
69 Cynthia        Anne           Velardi                    Paul              James         Furmato                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1140                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P4059, 8393-1, at 14,
70 Regina         E.             Gallagher                  Daniel            James         Gallagher                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 77, at
                                                                                                                                                                                             P2594, 8393-1, at 27,
71 Anthony        J.             Gambale                    Giovanna          G.            Gambale                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             AP246, 5284-1, at 5,
                                                                                                                                                                                             5296, 8393-1, at 12,
72 Robin          Marie          Wade                       Claude            Michael       Gann                        U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P3699, 8393-1, at 11,
73 Susan          L.             Gardner                    Christopher       S.            Gardner                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:03md-01570, 3477, at
                                                                                                                                                                                             1262; 8679-1, at 153,
                                                                                                                                                                                             8696 (prior PR: Alice
74 Jessica        Katherine      Kostaris                   Bruce             Henry         Gary                        U.S.           9/11/01 NY (Other)          03-CV-9849                Gary)                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
75 Jacqueline     S.             Gavagan                    Donald            R.            Gavagan           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                at 1979                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 3268, 8393-1, at 84,
76 Theresa                       Giammona                   Vincent           F.            Giammona                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 3, at
                                                                                                                                                                                             1163, 8393-1, at 31,
77 Susan                         Giberson                   James                           Giberson                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

78 Eleanor                       Gillette                   Evan                            Gillette                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 241              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 4818, 8393-1, at 33,
79 Marie          Scotto         Giordano                   Jeffrey                         Giordano                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                             1:02-cv-01616, 1, at 244,
80 Dorothy                       Giovinazzo                 Martin                          Giovinazzo                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 53, 848                    $ 2,000,000.00 $ 6,000,000.00

81 Sali                          Gjonbalaj                  Mon                             Gjonbalaj                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 250              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 305, at
                                                                                                                                                                                             P4303, 8393-1, at 40,
82 Elise          S.             Guadalupe                  Jose              Antonio       Guadalupe                   U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
83 John           V.             Luisi                      Philip                          Haentzler                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8679-1, at 185, 8696                  $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                            Page 3 of 9
                                                     Case 1:03-md-01570-GBD-SN                                                                Document 9716-1
                                                                                                                                               EXHIBIT B-2
                                                                                                                                                                                               Filed 04/23/24                           Page 5 of 10
                                                                                                                ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                    Personal Representative                                                              9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                           Nationalit
                                                                                                                           y on 9/11
                                                                                                                                                                                                       Complaint,
                                                                                                                                        Date of                                                                             Prior                                             Date of    Prior
#           First         Middle              Last   Suffix             First         Middle           Last      Suffix                             9/11 Site               Case   Complaint        Amendments &                        Amount            Treble     Report                      Amount   Treble
                                                                                                                                        Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                     Substitutions
                                                                                                                                                                                               1:02-cv-01616, 3, at
 84 Jeraldine                      Halligan                   Robert            John           Halligan                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1203                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 432, at
                                                                                                                                                                                               P4859, P4860, 8393-1,
 85 C.              Lee            Hanson                     Christine         Lee            Hanson                     U.S.           9/11/01 NY (UA175)          03-CV-9849                at 10, 8487                           $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 232, at
                                                                                                                                                                                               P3712, 8393-1, at 65,
 86 C.              Lee            Hanson                     Peter             Burton         Hanson                     U.S.           9/11/01 NY (UA175)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
 87 Gloria                         Haramis                    Vassilios         G.             Haramis                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3366                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
 88 Debra           A.             Harlin                     Daniel            Edward         Harlin                     U.S.           9/11/01 NY (Other)          03-CV-9849                at 3377                               $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                               1:02-cv-01616, 1, at 784,
 89 Melanie         Wolcott        Salisbury                  Edward            R.             Hennessy         Jr.       U.S.           9/11/01 NY (AA11)           03-CV-9849                5284-1, at 5, 5296                    $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
 90 Margaret                       McGrane                    Mary                             Herencia                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1225                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
 91 Eulogia                        Hernandez                  Norberto                         Hernandez                  U.S.           9/11/01 NY (WTC)            03-CV-9849                1235                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 313, at
                                                                                                                                                                                               P4658, 8393-1, at 81,
 92 Caren                          Higgins                    Timothy                          Higgins                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
 93 George          V.             Hindy                      Mark              D.             Hindy                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2048                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 305, at
                                                                                                                                                                                               P4321, 8393-1, at 31,
 94 Sheila          C.             Hobin                      James             J.             Hobin                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 305, at
                                                                                                                                                                                               P4325, 8393-1, at 36,
 95 Rebecca         Jean           Hofer                      John              Aaron          Hofer                      U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 305, at
                                                                                                                                                                                               P4331, 8393-1, at 29,
 96 Karen           L.             Homer                      Herbert           Wilson         Homer                      U.S.           9/11/01 NY (UA175)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
 97 Lisa            Sharp          Hord                       Montgomery        McCullough     Hord                       U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2059                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
                                                                                                                                                                                               at 3469, 8393-1, at 55,
 98 Emily                          Howell                     Michael           C.             Howell                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 432, at
                                                                                                                                                                                               P4867,P4868, 8393-1, at
 99 Louise                         Hughes                     Robert            T.             Hughes           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                71, 8487                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
100 Harry           T.             Jones             IV       Allison           H.             Jones                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3508                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
101 Harold          T.             Kaplan                     Deborah           H.             Kaplan                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3517                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
102 Susan           K.             Keasler                    Karol             Ann            Keasler                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1288                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
                                                                                                                                                                                               1292, 8393-1, at 68,
103 Carolyn                        Kelly                      Richard           J.             Kelly            Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 26, 29,
                                                                                                                                                                                               at 3541, 8393-1, at 73,
104 Dianne          P.             Kerwin                     Ronald            T.             Kerwin                     U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 232, at
                                                                                                                                                                                               P3755, 8393-1, at 25,
105 Irene                          Smolicz                    Frank             J.             Koestner                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
106 Felix                          Ksido                      Lyudmila                         Ksido                      U.S.           9/11/01 NY (WTC)            03-CV-9849                1310                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:03-md-01570, 602, at
                                                                                                                                                                                               P5490, 8393-1, at 81,
107 James                          Kuveikis                   Thomas            J.             Kuveikis                   U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 3, at
108 Richard         Louis          Lane                       Robert            T.             Lane                       U.S.           9/11/01 NY (Other)          03-CV-9849                1316                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 432, at
                                                                                                                                                                                               P4876, 8393-1, at 54,
109 Joseph          P.             Langley                    Mary              Lou            Langley                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                               1:02-cv-01616, 1, at 338,
110 Edward          N.             Lee                        Juanita                          Lee                        U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 44, 8487                   $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                               1:02-cv-01616, 1, at 340,
111 Johnny                         Lee                        Lorraine                         Lee                        U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 50, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                               1:02-cv-01616, 313, at
                                                                                                                                                                                               P4684, 8393-1, at 23,
112 Hayley          Natalie        Lehrfeld                   Eric              Andrew         Lehrfeld                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                              Page 4 of 9
                                                  Case 1:03-md-01570-GBD-SN                                                                Document 9716-1
                                                                                                                                            EXHIBIT B-2
                                                                                                                                                                                            Filed 04/23/24                           Page 6 of 10
                                                                                                             ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                   Personal Representative                                                            9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                        Nationalit
                                                                                                                        y on 9/11
                                                                                                                                                                                                    Complaint,
                                                                                                                                     Date of                                                                             Prior                                             Date of    Prior
#          First        Middle             Last    Suffix             First        Middle            Last     Suffix                             9/11 Site               Case   Complaint        Amendments &                        Amount            Treble     Report                      Amount   Treble
                                                                                                                                     Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                  Substitutions
                                                                                                                                                                                            1:02-cv-01616, 313, at
                                                                                                                                                                                            P4685, 8393-1, at 38,
113 Patricia                     Lennon                     John              J.            Lennon           Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-cv-9849, HAND
                                                                                                                                                                                            FILED, at P5150, 8393-1,
114 Deryck         D.            Lindo                      Nickie                          Lindo                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 61, 8487                           $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            AP256, 8393-1, at 53,
115 Jean           Lucido        Prisco                     Martin                          Lizzul                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                            1:02-cv-01616, 1, at 346,
116 Eugenia        Reyes         Llanes                     George            Andrew        Llanes                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 27, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3791, 8393-1, at 23,
117 Robert         Francis       Logler                     Elizabeth         C.            Logler                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
118 Sharon                       Louis                      Stuart            Seid          Louis                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2458                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
119 Elisabeth                    Lynch                      Robert            H.            Lynch            Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                at 2472                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3811, 8393-1, at 79,
120 Ashley         Nicole        Lynch                      Terence           M.            Lynch                      U.S.           9/11/01 VA (Pentagon)       03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3813, 393-1, at 69,
121 Kenneth        J.            Mace                       Robert            Francis       Mace                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 155, at
                                                                                                                                                                                            P3019, 8393-1, at 79,
122 Douglas        Allen         Mackay                     Susan             A.            Mackay                     U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 432, at
                                                                                                                                                                                            P4888, 8393-1, at 42,
123 Kathleen                     Maloney                    Joseph            Edward        Maloney                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                            1:02-cv-01616, 3, at
124 Jane           Bernholz      Maltby                     Christian         H.            Maltby                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1826, 5284-1, at 7, 5296              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 3, at
125 Kenneth        R.            Mannetta                   Debra             M.            Mannetta                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1403                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 3, at
126 Jodi           A.            Marrero                    Jose                            Marrero                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1413                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4404, 8393-1, at 37,
127 Lori           T.            Marshall                   John              Daniel        Marshall                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3820, 8393-1, at 88,
128 Deborah        D.            Martin                     William           Joseph        Martin                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 155, at
                                                                                                                                                                                            P3023, 8393-1, at 6,
129 Luis                         Gaston                     Betsy                           Martinez                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P4069, 8393-1, at 76,
130 Joan                         Masi                       Stephen           F.            Masi                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
131 Denise                       Matuza                     Walter            A.            Matuza                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2166                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-cv-9849, HAND
                                                                                                                                                                                            FILED, at P5169, 8393-1,
132 Dawn           Marie         McAleese                   Brian             G.            McAleese                   U.S.           9/11/01 NY (Other)          03-CV-9849                at 7, 8487                            $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3824, 8393-1, at 57,
133 Lynn           C.            McCabe                     Michael           J.            McCabe                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

134 Debra          Diane         Menich                     Kevin             Michael       McCarthy                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 383              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4414, 8393-1, at 83,
135 Rufus          J.            McDay            Jr.       Tonyell           F.            McDay                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3831, 8393-1, at 21,
136 Bonnie         McEneaney     McNamara                   Eamon             James         McEneaney                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-md-01570, 432, at
                                                                                                                                                                                            P5402, 8393-1, at 63,
137 Danielle                     McGuire                    Patrick                         McGuire                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
138 Una            Margaret      McHugh                     Dennis            P.            McHugh                     U.S.           9/11/01 NY (Other)          03-CV-9849                at 3853                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 155, at
                                                                                                                                                                                            P3029, 8393-1, at 56,
139 Maria          Amalia        Sayegh                     Michael           E.            McHugh           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                           Page 5 of 9
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                                                                                                                                            EXHIBIT B-2
                                                                                                                                                                                            Filed 04/23/24                          Page 7 of 10
                                                                                                             ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                   Personal Representative                                                            9/11 Decedent                                                             Claim Information                               Pain & Suffering Damages                       Economic Damages




                                                                                                                        Nationalit
                                                                                                                        y on 9/11
                                                                                                                                                                                                   Complaint,
                                                                                                                                     Date of                                                                            Prior                                             Date of    Prior
#          First        Middle              Last   Suffix             First        Middle           Last      Suffix                             9/11 Site               Case   Complaint        Amendments &                       Amount            Treble     Report                      Amount   Treble
                                                                                                                                     Death                                                                             Award                                              Report    Award
                                                                                                                                                                                                  Substitutions
                                                                                                                                                                                            1:02-cv-01616, 155, at
                                                                                                                                                                                            P3030, 8393-1, at 20,
140 Jeannine       Marie         McIntyre                   Donald            J.            McIntyre                   U.S.           9/11/01 NY (Other)          03-CV-9849                848                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
141 Maureen                      Sproha                     Gavin                           McMahon                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3868, 3869                        $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P4075, 8393-1, at 1,
142 Barbara                      Merdinger                  Alan                            Merdinger                  U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3847, 8393-1, at 58,
143 Betty          Ann           Miller                     Michael           Matthew       Miller                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 3, at
144 Toby                         Millman                    Benjamin                        Millman                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1465                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4436, 8393-1, at 34,
145 Suzanne        S.            Mladenik                   Jeffrey           P.            Mladenik                   U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
146 Hortensia                    Gonzalez                   Dennis                          Mojica                     U.S.           9/11/01 NY (Other)          03-CV-9849                at 3933                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
147 Matthew                      Monahan                    Franklyn                        Monahan                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2200                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 2492, 5284-1, at 8,
148 Caren          A.            Montano                    Craig             D.            Montano                    U.S.           9/11/01 NY (WTC)            03-CV-9849                5296                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
149 Nancy          Eileen        Montesi                    Michael           G.            Montesi                    U.S.           9/11/01 NY (Other)          03-CV-9849                at 3945                              $ 2,000,000.00 $ 6,000,000.00

150 Ivy            Maria         Moreno                     Yvette            Nicole        Moreno                     U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 388             $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
151 Lynn                         Morris-Piccolo             Seth              A.            Morris                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 3954                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3868, 8393-1, at 3,
152 Gary           Stanley       Nelson                     Ann               Nicole        Nelson                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 313, at
                                                                                                                                                                                            P4698, 8393-1, at 67,
153 Paul                         Newell                     Renee             Tetreault     Newell                     U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 4022, 8393-1, at 44,
154 Michelle                     Nieves                     Juan                            Nieves           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 3, at
155 Rachel                       O'Brien                    Michael           P.            O'Brien                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1497                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 4069, 8393-1, at 62,
156 Karen          Lisa          O'Keefe                    Patrick           Joseph        O'Keefe                    U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4457, 8393-1, at 10,
157 Stella                       Olender                    Christine                       Olender                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
158 Clifford       Irving        Olsen                      Eric              Taube         Olsen                      U.S.           9/11/01 NY (Other)          03-CV-9849                at 2237                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
159 Denise         Marie         Olsen                      Jeffrey           James         Olsen                      U.S.           9/11/01 NY (Other)          03-CV-9849                at 4090                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
160 Olga                         Orgielewicz                Christopher       T.            Orgielewicz                U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2241                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3873, 8393-1, at 57,
161 Marion         Susan         Otten                      Michael           J.            Otten                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-md-01570, 432, at
                                                                                                                                                                                            P5422, 8393-1, at 72,
162 Annie                        Guerrero                   Roland                          Pacheco                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3879, 8393-1, at 55,
163 Rekha          D.            Packer                     Michael           B.            Packer                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
164 Janice                       Pansini                    Paul              John          Pansini                    U.S.           9/11/01 NY (Other)          03-CV-9849                at 2251                              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 432, at
                                                                                                                                                                                            P4919, 8393-1, at 22,
165 Patricia       N.            Papa                       Edward            J.            Papa                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 4120, 8393-1, at 71,
166 Karen                        Parro                      Robert                          Parro                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 77, at
                                                                                                                                                                                            P2682, 8393-1, at 81,
167 Kia            Polyxena      Pavloff                    Thomas                          Pecorelli                  U.S.           9/11/01 NY (AA11)           03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4477, 8393-1, at 82,
168 Nancy          N.            Pedicini                   Thomas                          Pedicini                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                 $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                           Page 6 of 9
                                                   Case 1:03-md-01570-GBD-SN                                                               Document 9716-1
                                                                                                                                            EXHIBIT B-2
                                                                                                                                                                                            Filed 04/23/24                           Page 8 of 10
                                                                                                             ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                   Personal Representative                                                            9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                        Nationalit
                                                                                                                        y on 9/11
                                                                                                                                                                                                   Complaint,
                                                                                                                                     Date of                                                                             Prior                                             Date of    Prior
#          First        Middle              Last    Suffix            First        Middle            Last     Suffix                             9/11 Site               Case   Complaint        Amendments &                        Amount            Treble     Report                      Amount   Treble
                                                                                                                                     Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                  Substitutions
                                                                                                                                                                                            1:02-cv-01616, 232, at
169 Shawn                        Bittner                     Angela           Susan         Perez                      U.S.           9/11/01 NY (WTC)            03-CV-9849                P3896                                 $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-md-01570, 602, at
                                                                                                                                                                                            P5497, 8393-1, at 58,
170 Lynn           Ann           Pescherine                  Michael          John          Pescherine                 U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 432, at
                                                                                                                                                                                            P4926, 8393-1, at 54,
171 Petrina        M.            Picerno                     Matthew          Martin        Picerno                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
172 Rosemary                     Piskadlo                    Joseph                         Piskadlo                   U.S.           9/11/01 NY (WTC)            03-CV-9849                at 4159                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P4082, 8393-1, at 43,
173 Doreen                       Plumitallo                  Joseph                         Plumitallo                 U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3899, 8393-1, at 38,
174 Laura          A.            Grygotis                    John             M.            Pocher                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 432, at
                                                                                                                                                                                            P4933, 8393-1, at 79,
175 Phyllis                      Pollio                      Susan            M.            Pollio                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3914, 8393-1, at 28,
176 Lori           A.            Preziose                    Gregory          M.            Preziose                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

177 Everett                      Proctor           Jr.       Everett          M.            Proctor          III       U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 469              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 4185, 8393-1, at 16,
178 Kathryn        S.            Pruim                       David            L.            Pruim                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 155, at
                                                                                                                                                                                            P3072, 8393-1, at 22,
179 Melissa                      Pullis                      Edward           Frank         Pullis                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                            1:02-cv-01616, 1, at 482,
180 Kevin                        Puma                        Patricia         Ann           Puma                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 62, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
181 James                        Dunne             III       Christopher                    Quackenbush                U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2276                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 3, at
182 Lenore         Clare         Raimondi                    Peter            Frank         Raimondi                   U.S.           9/11/01 NY (WTC)            03-CV-9849                1558                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3920, 8393-1, at 28,
183 Lauren         Christine     Raines                      Harry            A.            Raines                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4494, 8393-1, at 84,
184 Thankachan                   Raju                        Valsa                          Raju                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
185 Darlene        G.            Rall                        Edward           J.            Rall                       U.S.           9/11/01 NY (Other)          03-CV-9849                at 4209                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 313, at
                                                                                                                                                                                            P4715, 8393-1, at 28,
186 Migdalia                     Ramos                       Harry                          Ramos                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3921, 8393-1, at 40,
187 Virginia                     Bladen                      Jonathan                       Randall                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:03-cv-9849, HAND
                                                                                                                                                                                            FILED, at P5238, 8393-1,
188 Anna           Rasmussen     Stansbury                   Robert           A.            Rasmussen                  U.S.           9/11/01 NY (WTC)            03-CV-9849                at 68, 8487                           $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3928, 8393-1, at 73,
189 Jo Ann         R.            Riccio                      Rudolph          N.            Riccio                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
190 John           J.            Roberts                     Michael          Edward        Roberts                    U.S.           9/11/01 NY (Other)          03-CV-9849                at 2308                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 232, at
                                                                                                                                                                                            P3931, 8393-1, at 49,
191 Debra                        Roberts                     Leo              A.            Roberts                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
192 Patricia                     Rosen                       Mark             H.            Rosen                      U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2321                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
                                                                                                                                                                                            at 2323, 8393-1, at 86,
193 Arthur                       Russo                       Wayne            A.            Russo                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
194 Maria          Jose          San Pio                     Sylvia                         San Pio                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 4356                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
195 Carol          Sue           Sandler                     Herman           Samuel        Sandler                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2333                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 305, at
                                                                                                                                                                                            P4513, 8393-1, at 79,
196 Ryan                         Pemberton                   Susan            Marie         Sauer                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                            1:02-cv-01616, 26, 29,
197 Jeanette       DeVito        Schardt                     John             Albert        Schardt                    U.S.           9/11/01 NY (Other)          03-CV-9849                at 4375                               $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                           Page 7 of 9
                                                    Case 1:03-md-01570-GBD-SN                                                               Document 9716-1
                                                                                                                                             EXHIBIT B-2
                                                                                                                                                                                             Filed 04/23/24                           Page 9 of 10
                                                                                                              ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                    Personal Representative                                                            9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                         Nationalit
                                                                                                                         y on 9/11
                                                                                                                                                                                                     Complaint,
                                                                                                                                      Date of                                                                             Prior                                             Date of    Prior
#           First        Middle              Last   Suffix            First        Middle            Last      Suffix                             9/11 Site               Case   Complaint        Amendments &                        Amount            Treble     Report                      Amount   Treble
                                                                                                                                      Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                   Substitutions
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
198 Lauren          J.            Osnato                     Karen            Helene        Schmidt                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2341                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:03-cv-9849, HAND
                                                                                                                                                                                             FILED, at P5258, 8393-1,
199 Dina            Marie         Schott                     Frank            G.            Schott            Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                at 25, 8487                           $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                             1:02-cv-01616, 1, at 878,
200 Denise          Marie         Scott                      Randolph                       Scott                       U.S.           9/11/01 NY (WTC)            03-CV-9849                5284-1, at 10, 5296                   $ 2,000,000.00 $ 6,000,000.00

201 Frances         Ruth          Selwyn                     Howard                         Selwyn                      U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 563              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 3, at
202 Dawn            Marie         Shay                       Robert           J.            Shay              Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                1635                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 77, at
                                                                                                                                                                                             AP210, 8393-1, at 76,
203 Sarah           Elizabeth     Siller                     Stephen          G.            Siller                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
204 Kathleen        H.            Simmons                    Bruce            E.            Simmons                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2363                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 155, at
                                                                                                                                                                                             P3090, 8393-1, at 33,
205 Diane           Elizabeth     Cass                       Jeff             L.            Simpson                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P4086, 8393-1, at 66,
206 Alana                         Siracuse-Spera             Peter            A.            Siracuse                    U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 77, at
                                                                                                                                                                                             AP211, 5284-1, at 11,
                                                                                                                                                                                             5296, 8393-1, at 71,
207 Rena            Tempelsman    Speisman                   Robert           S.            Speisman                    U.S.           9/11/01 VA (AA77)           03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P3953, 8393-1, at 25,
208 Michelle                      Spinelli                   Frank            J.            Spinelli          Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 155, at
                                                                                                                                                                                             P3094, 8393-1, at 42,
209 Colleen         Casey         Spor                       Joseph           P.            Spor              Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                             1:02-cv-01616, 1, at 596,
210 Roseanna                      Stabile                    Michael          F.            Stabile                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8393-1, at 56, 8487                   $ 2,000,000.00 $ 6,000,000.00

211 Terry                         Strada                     Thomas                         Strada                      U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 753              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 4476, 8393-1, at 5,
212 Sally           Ann           Suarez                     Benjamin                       Suarez                      U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P3967, 8393-1, at 69,
213 Bryan                         Murtagh                    Robert           E.            Sutcliffe         Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 155, at
                                                                                                                                                                                             P3111, 8393-1, at 13,
214 Bernell         Anthony       Sutton                     Claudia                        Sutton                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                             1:02-cv-01616, 1, at 611,
215 Barbara         Marie         Talty                      Paul                           Talty                       U.S.           9/11/01 NY (Other)          03-CV-9849                8393-1, at 64, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 313, at
                                                                                                                                                                                             P4746, 8393-1, at 72,
216 Karen           Ann           Reilly                     Ronald           G.            Tartaro                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 232, at
                                                                                                                                                                                             P3980, 8393-1, at 20,
217 Sarah                         Taylor                     Donnie           B.            Taylor            Sr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                848                                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
218 Ana             Maria         Tempesta                   Anthony                        Tempesta                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2389                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 2395, 8393-1, at 20,
219 Rosalyn                       Temple                     Dorothy          Pearl         Temple                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
                                                                                                                                                                                             at 2398, 8393-1, at 76,
220 Kathleen        Marie         Tighe                      Stephen          Edward        Tighe                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
221 Angel           Luis          Tirado                     Hector           Luis          Tirado            Jr.       U.S.           9/11/01 NY (Other)          03-CV-9849                at 4558                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 305, at
                                                                                                                                                                                             P4556, 8393-1, at 86,
222 Rosemary                      Travers                    Walter           P.            Travers                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 77, at
                                                                                                                                                                                             P2731, 8393-1, at 28,
223 George          Daniel        Trost                      Gregory          J.            Trost                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 3, at
224 Judy            S.            Troy                       Willie           Quincy        Troy                        U.S.           9/11/01 VA (Pentagon)       03-CV-9849                1708                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                             1:02-cv-01616, 26, 29,
225 Grissel         Rodriguez     Valentin                   Benito                         Valentin                    U.S.           9/11/01 NY (WTC)            03-CV-9849                at 4606                               $ 2,000,000.00 $ 6,000,000.00




                                                                                                                                                            Page 8 of 9
                                                        Case 1:03-md-01570-GBD-SN                                                             Document 9716-1
                                                                                                                                                 EXHIBIT B-2
                                                                                                                                                                                                 Filed 04/23/24                          Page 10 of 10
                                                                                                                  ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001 WITHOUT PRIOR JUDGMENT



                   Personal Representative                                                                 9/11 Decedent                                                             Claim Information                                Pain & Suffering Damages                       Economic Damages




                                                                                                                             Nationalit
                                                                                                                             y on 9/11
                                                                                                                                                                                                        Complaint,
                                                                                                                                          Date of                                                                             Prior                                             Date of    Prior
#          First        Middle             Last          Suffix            First        Middle          Last       Suffix                             9/11 Site               Case   Complaint       Amendments &                         Amount            Treble     Report                      Amount   Treble
                                                                                                                                          Death                                                                              Award                                              Report    Award
                                                                                                                                                                                                       Substitutions
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P3993, 8393-1, at 26,
226 Eileen                       Varacchi                         Frederick        Thomas        Varacchi                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P3994, 8393-1, at 27,
227 Srinivasa      S.R.          Varadhan                         Gopalakrishnan                 Varadhan                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 313, at
                                                                                                                                                                                                 P4755, 8393-1, at 48,
228 Dianne         J.            Veling                           Lawrence         Gerard        Veling                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

                                                                                                                                                                                                 1:02-cv-01616, 1, at 637,
229 Kathleen       M.            Vigiano                          Joseph           Vincent       Vigiano                    U.S.           9/11/01 NY (Other)          03-CV-9849                8393-1, at 43, 8487                   $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P4006, 8393-1, at 28,
230 Nassima        Moulfi        Wachtler                         Gregory          Kamal Bruno   Wachtler                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 305, at
                                                                                                                                                                                                 P4562, 8393-1, at 32,
231 Kate           Louise        Walsh Calton                     James                          Walsh                      U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 155, at
                                                                                                                                                                                                 P3143, 8393-1, at 86,
232 Wen                          Shi                              Weibin                         Wang                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 26, 29,
                                 Public Administrator                                                                                                                                            at 2423, 8393-1, at 19,
233                              of Suffolk County                Derrick          Christopher   Washington                 U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 155, at
                                                                                                                                                                                                 P3146, 1:02-cv-01616, 1,
                                                                                                                                                                                                 at 363, 8393-1, at 9,
234 Barbara                      Waters                           Charles                        Waters                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 305, at
                                                                                                                                                                                                 P4569, 8393-1, at 88,
235 Lisa           Anne          Weems                            William          Michael       Weems                      U.S.           9/11/01 NY (UA175)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 26, 29,
236 Patricia       J.            Whalen                           Meredith         Lynn          Whalen                     U.S.           9/11/01 NY (WTC)            03-CV-9849                at 4700                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 155, at
                                                                                                                                                                                                 P3148, 8393-1, at 59,
237 Jennifer                     Wholey                           Michael          T.            Wholey                     U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P4032, 8393-1, at 54,
238 Marc           Elmo          Wieman                           Mary                           Wieman                     U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00

239 Ronald         J.            Willett                          John             Charles       Willett                    U.S.           9/11/01 NY (WTC)            03-CV-9849                1:02-cv-01616, 1, at 655              $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 313, at
                                                                                                                                                                                                 P4764, 8393-1, at 16,
240 Debra          Marie         Johnson                          David            J.            Williams                   U.S.           9/11/01 NY (Other)          03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:03-md-01570, 432, at
                                                                                                                                                                                                 P5468, 8393-1, at 50,
241 Murna          T.            Williams                         Louie            Anthony       Williams                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 26, 29,
242 Linda          Preston       Woodwell                         Richard          H.            Woodwell                   U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2432                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 26, 29,
243 Martha         Oliverio      Wright                           John             Wayne         Wright           Jr.       U.S.           9/11/01 NY (WTC)            03-CV-9849                at 2437                               $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:03-md-01570, 3477, at
                                                                                                                                                                                                 3956; 8679-1, at 525,
244 John           David         Yamnicky               Jr.       John             David         Yamnicky         Sr.       U.S.           9/11/01 VA (AA77)           03-CV-9849                8696                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P4101, 8393-1, at 22,
245 Kimberly       Gordish       York                             Edward           Philip        York                       U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00
                                                                                                                                                                                                 1:02-cv-01616, 232, at
                                                                                                                                                                                                 P4039, 8393-1, at 68,
246 Robert         Albert        Zampieri                         Robert           Alan          Zampieri                   U.S.           9/11/01 NY (WTC)            03-CV-9849                8487                                  $ 2,000,000.00 $ 6,000,000.00




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